              Case
               Case2:12-cr-00298-RSL
                    2:12-cr-00298-RSL Document
                                       Document53-1 Filed11/09/20
                                                54 Filed  11/06/20 Page
                                                                    Page11ofof11




 1                                                    THE HONORABLE ROBERT S. LASNIK
 2
 3
 4
                                UNITED STATES DISTRICT COURT
 5
                               WESTERN DISTRICT OF WASHINGTON
 6                                       AT SEATTLE

 7   UNITED STATES OF AMERICA,                       )   No. CR 12-298-RSL
                                                     )
 8                     Plaintiff,                    )
                                                     )   ORDER GRANTING STIPULATED
 9                v.                                 )   MOTION TO EXTEND NOTING
                                                     )   DATE AND DUE DATE FOR FILING
10   KEVIN O’LEARY,                                  )   A REPLY
                                                     )
11                     Defendant.                    )
                                                     )
12
13           The Court has considered the Unopposed Motion to Extend the Noting Date and
     Due Date for Filing a Reply, and all the records in this case.
14
             IT IS NOW ORDERED:
15
             1.        Counsel for Mr. O’Leary will file the Reply on or before November 10,
16
     2020;
17
             2.        The clerk shall re-note the matter to that same date.
18
                                        ber, 2020.
             DATED this 9th day of November,
19
20
                                                    ________________________________
                                                   ________________________________
21                                                  ROBERT S. LASNIK
                                                    UNITED STATES DISTRICT JUDGE
22
23   Presented by:
24   s/ Corey Endo
     Assistant Federal Public Defender
25
     Attorney for Kevin O’Leary
26

       ORDER GRANTING STIPULATED MOTION TO                          FEDERAL PUBLIC DEFENDER
       EXTEND NOTING DATE                                              1601 Fifth Avenue, Suite 700
       AND DUE DATE FOR FILING REPLY                                             Seattle, WA 98101
       (Kevin O’Leary; CR12-298-RSL) - 1                                             (206) 553-1100
